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        (if known)




                                  Instructions for Bankruptcy Forms for Non-Individuals,




doing business as



                     XX-XXXXXXX
21-60163-rbk Doc#1 Filed 04/09/21 Entered 04/09/21 16:35:47 Main Document Pg 2 of 5
                                                                                      if known




                 Check one:




                 Check all that apply




               Check one:




                              Check all that apply




                                        ttachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
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                                                                    if known




                                                                                    21-60162


                   Check all that apply:
this district?




                                                          Check all that apply.




                          Check one:
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                                                          if known
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                                                            if known




                            04/09/2021


           X




           X   /s/ Thomas Berghman                            04/09/2021




                                                    tberghman@munsch.com
